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     MASIMO CORPORATION and CERCACOR LABORATORIES, INC.
16
17                   IN THE UNITED STATES DISTRICT COURT
18                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
19                               SOUTHERN DIVISION
20
      MASIMO CORPORATION,                  ) Case No. 8:20-cv-00048-JVS-JDE
21    a Delaware corporation; and
      CERCACOR LABORATORIES, INC., )
22    a Delaware corporation               ) PLAINTIFFS’ NOTICE OF MOTION
                                           ) AND   MOTION REGARDING
                                              PLAINTIFFS’    OBJECTIONS TO
23                Plaintiffs,              ) SPECIAL MASTER ORDER DATED
24          v.                             ) OCTOBER 24, 2022
25                                         )
      APPLE INC., a California corporation )
                                               Date: December 5, 2022
26                                         ) Time: 1:30 p.m.
                  Defendant.               ) Location: Courtroom 10C
27
                                           )
28
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 1         PLEASE TAKE NOTICE that on December 5, 2022, at 1:30 PM, or as soon
 2   thereafter as counsel may be heard, in the Courtroom of the Honorable James V. Selna,
 3   Courtroom 10C of the United States District Court for the Central District of California,
 4   located at 411 West Fourth Street, Santa Ana, California, 92701, Plaintiffs MASIMO
 5   CORPORATION and CERCACOR LABORATIES, INC. will and hereby do move the
 6   Court to sustain Plaintiffs’ Objections To Special Master Order Dated October 24, 2022.
 7         This motion is based upon this Notice of Motion, the Memorandum in Support of
 8   the Objections, the Declaration of Benjamin Katzenellenbogen, including the exhibits
 9   attached thereto, the Declaration of Valery G. Telfort, the Declaration of Jarom Kesler,
10   all documents filed concurrently herewith, any subsequently filed supplemental
11   memorandums and declarations, the pleadings and papers filed in this action, and any
12   other arguments, evidence, and other matters submitted to the Court, at the hearing or
13   otherwise. A proposed order is being lodged for the Court’s consideration.
14
15                                   Respectfully submitted,
16
                                     KNOBBE, MARTENS, OLSON & BEAR, LLP
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18   Dated: November 7, 2022                  By: /s/ Benjamin A. Katzenellenbogen
                                                   Joseph R. Re
19                                                 Stephen C. Jensen
                                                   Benjamin A. Katzenellenbogen
20                                                 Perry D. Oldham
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25                                                    MASIMO CORPORATION and
                                                      CERCACOR LABORATORIES, INC.
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